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                     Exhibit 4
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U.1981.72/2H                                                            be time-barred according to the general 5-year limitation rule.


H. D. December 19, 1980 in case I 367/1979

Directorate of Customs (km.adv. v/ adv. Skov Knudsen)
mod
farmer, state-authorized real estate agent Thorkild Bjerregaard
(Mr. Strøjer, n.d.).

Taxes 5 - Monetary system etc. 58.3.
Incorrectly deducted amounts in VAT accounts did not
mean that the statute of limitations was considered
postponed under section 3 of the 1908 Act.

  ♦ The taxable persons under the VAT Act declare to customs
    the equivalent of value added tax as the difference between a
    total figure for tax on sales and tax on purchases. During a
    control inspection in March 1978 at a farm owner who was
    also a state-authorized real estate agent. estate agent, which
    latter activity was not subject to value added tax under the
    rules in force at the time, it was found that an amount relating
    to the estate agency business had been deducted from the tax
    for the half-year from August 1, 1972 to January 31, 1973,
    which fell due on July 1, 1973. The attachment was made in
    December 1978. The claim for tax on the amount incorrectly
    deducted was considered time-barred, as the limitation
    period was not considered to be suspended pursuant to
    section 3 of the 1908 Act (dissent). 1
City Courts
73
Grindsted bailiff's order February 22, 1979.
During an attachment procedure carried out by Vejle District
Customs Chamber at the farm owner Thorkild Bjerregaard,
Givskud, Jelling, on December 18, 1978, during which an
attachment was made for a VAT response of DKK 8,357.00 incl.
interest in 1 stereo system, 1 radio, two loudspeakers and the
property registered under no. 3-a and 18-e Givskud town and
parish. radio and two loudspeakers as well as in the property
matr. no. 3-a and 18-e Givskud town and parish, the petitioner
protested against the attachment, claiming that he did not owe the
amount, alternatively that part of the amount was time-barred
from the financial year ended 31.7.1973.
  Pursuant to section 6 of the Act on the procedure for the
collection of taxes and duties etc. the case was then brought
before the bailiff court.
  It appears from the case that the petitioner operates a VAT-
registered agricultural business and an unregistered real
estate agency business. In the period August 1, 1972 to January
31, 1973, the petitioner has included DKK 7,626.00 as input tax
in the accounts of the agricultural business, which relates to
advertising expenses in the real estate agency business, which is
contrary to section 16(1) of the Value Added Tax Act. Customs
became aware of the error during an audit of requisition accounts
in 1977.
  In support of its objections, the Respondent has argued that it
was in good faith with regard to the deductions for the
advertising expenses referred to in the additional charge. The
deductions had been made in accordance with long-standing
practice and in full transparency, after which he cannot now be
obliged to pay the corresponding amount. Regarding his
alternative claim, he has stated that at least part of the claim must
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  Customs has argued that good faith with regard to errors in the               upheld.
VAT accounts does not exempt from payment of a corresponding                     Both parties have repeated their proceedings before the
amount. Regarding the starting point of the limitation period,                  enforcement court. It is stated that the customs authorities did not
Customs has argued that the period must run from the time when                  discover the error in the appellant's accounts until February-
the error was discovered in 1977, as Customs has not previously                 March 1978. It is further stated that the local customs authorities,
seen the requisite accounts and therefore could not have become                 following instructions from the Customs Department, endeavor
aware of the claim.                                                             every 5 years to summon and examine the VAT registered
                                                                                companies' accounts for the previous 5 years, but that sometimes
The bailiff must pronounce:                                                     there is a longer period between these inspections.
Regardless of rekvisiti's good faith with regard to the errors in                Since the customs authorities have had the opportunity to
the VAT accounts for the agricultural business, he is found in                  establish the errors committed in the presentation of the accounts
accordance with the VAT Act §                                                   for the year 1 August 1972 to 31 July 1973 before 18 December
34 obliged to reimburse customs for the amount evaded. Since                    1973, the back payment claim for this financial year is found to
customs only became aware of the errors in the accounts in                      be time-barred, without any significance being attached to the
question during an extraordinary audit of the accounts in 1977,                 fact that the customs authorities for administrative reasons have
whereby it should be noted that customs does not normally audit                 organized their case processing in such a way that they did not
the accounts of VAT-registered persons, and thus only from that                 actually become aware of the facts on which the claim is based
time became able to demand payment of its VAT liability, a                      until 1978. However, it is accepted that the respondent is not
limitation period regarding the VAT liability can only be                       otherwise precluded from asserting the tax claim, and with the
calculated from that time, which is why no part of the claim is                 following amendment, the High Court upholds the order.
time-barred.                                                                     Neither party shall pay the other party's legal costs before the
Western High Court                                                              High Court.
                                                                                Supreme Court
Judgment of the Western High Court, June 15, 1979
(4th department)                                                                Supreme Court ruling.
(Gjesingfelt, Rørdam and Hans Bendsen (deputy))                                 With the permission of the Ministry of Justice, the judgment
 The appealed order was issued on February 22, 1979 by the                      handed down by the Western High Court in this case has been
court in Grindsted.                                                             appealed to the Supreme Court.
 Before the High Court, the appellant, farm owner, statsaut. estate              Five judges participated in the adjudication: Urne, Torben
agent Thorkild Bjerregaard, repeated his claim made in the first                Jensen, Bangert, Munch and Kiil.
instance that the transaction be refused, while the respondent,                  Before the Supreme Court, the appellant has principally claimed
Vejle District Customs Chamber, claimed that the order be                          74



  1 See U.1935.715 H (TfR 1936.359), U.1963.377 H (U1963B.246), U.1968.240 H and U.1972.985 H (U1973B.173) and Bastholm and Rugh: Momsloven
     p. 217, Ussing: Obligationsret, alm. del, 4th ed. p. 408, Gomard: Obligationsretten i en nøddeskal, 3, p. 382 ff, Tliøger Nielsen: Indkomstbeskatning I
     p. 130 ff, Bjørn, Hulgaard og Michelsen: Lærebog om indkomstskat, 3rd edition, p. 605 f, Hartvig Jacobsen: Skatteretten p. 354 ff, Hinze:
     Skatteprocessen, 4th edition p. 202, Lauesen in U1980B.109 ff and 1961/62 A sp. 1372.




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confirmation of the order of the bailiff court. In the alternative, the
High Court's judgment is upheld with the amendment that only the
tax liability for the period
August 1, 1972 to January 31, 1973, a total of DKK 481.38 øre,
is considered obsolete.
  The respondent has claimed acquittal of the appellant's main
claim, but has responded in the affirmative to the alternative
claim.
  Thus, the parties agree that no part of the claim for tax periods
from and including February 1, 1973 can be considered time-
barred, as claims for these periods fell due for payment on
January 1, 1974 at the earliest, cf. section 28(3) of the General
Sales Tax Act, and any current limitation period was interrupted
by the posting on December 18, 1978.

Three judges - Torben Jensen, Bangert and Kiil says:
According to the General Sales Tax Act, the tax is corrected on
the basis of the company's summary declaration of the amount of
outgoing and incoming tax in the tax period in question, and
claims for payment of additional tax as a result of errors in the
declarations will normally require the customs authorities to
check the accounting material on which the declarations are based,
which according to section 19 of the Act must only be kept for 5
years after the end of the financial year. With this remark and for
the reasons stated in the judgment, it is accepted that the
commencement of the limitation period for the customs claim has
not been postponed under section 3 of the Limitation Act of 1908
until the customs became aware of the error. Accordingly, the part
of the claim relating to the tax period from August 1, 1972 to
January 31, 1973, a total of DKK 481.38 øre, is time-barred.
These judges then vote to uphold the appellant's alternative
claim. They also vote to cancel the costs of the case before the
Supreme Court, whereby it is noted that the respondent has also
had free legal representation before the Supreme Court.

Judges Urne and Munch say:
It is undisputed that the tax authorities did not become aware
before the company inspection on March 10, 1978 that there was
a tax liability as a result of the respondent's erroneous
overstatement of input tax for the period August 1, 1972 to
January 31, 1973. Customs had no reason to suspect that the
declaration was incorrect. As no rules have been laid down
requiring Customs to carry out business control within certain
time limits, these judges find that ignorance of the claim has
been imputable to Customs, cf. section 3 of the 1908 Act.
Therefore, they vote to uphold the order of the enforcement
court.
  There will be to give judgment according to the majority of votes.
For it is known to be right:
The High Court's judgment should stand, however, only the tax
liability for the period from August 1, 1972 to January 31, 1973,
amounting to DKK 481.38 øre, is considered time-barred.
  Neither party will pay the costs of the Supreme Court
proceedings to the other party or to the state treasury. 2




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 2     Fees to the lawyer appointed for the respondent DKK 4,000.




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